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Page 1                                                                Page 3

 1                  IN THE UNITED STATES DISTRICT COURT                1                                  I N D E X

 2                         FOR THE DISTRICT OF MONTANA                 2

 3                                                                     3

 4       BNSF RAILWAY COMPANY, on behalf of                            4       EXAMINATION OF SENATOR MAX BAUCUS BY:              PAGE:

 5       THE UNITED STATES OF AMERICA,                                 5

 6                                                                     6            Mr. Adam Duerk, Esq.......................... 6

 7                         Plaintiff,                                  7

 8                                                                     8

 9            vs.                          Cause No. CV-19-40-M-DLC    9

10                                                                    10

11       THE CENTER FOR ASBESTOS RELATED                              11

12       DISEASE, INC.,                                               12

13                                                                    13

14                         Defendant.                                 14

15       ________________________________________________________     15

16                  VIDEO DEPOSITION UPON ORAL EXAMINATION OF         16

17                              SENATOR MAX BAUCUS                    17

18       ________________________________________________________     18

19             BE IT REMEMBERED, that the video-taped deposition      19

20       upon oral examination of SENATOR MAX BAUCUS, appearing at    20

21       the instance of the Defendant, was taken at the offices of   21

22       Fisher Court Reporting, 442 E. Mendenhall, Bozeman,          22

23       Montana, on July 19, 2022, beginning at 10:00 a.m.,          23

24       pursuant to Montana Rules of Civil Procedure, before Robyn   24

25       Ori English, Court Reporter - Notary Public.                 25


Page 2                                                                Page 4

 1                              APPEARANCES OF COUNSEL                 1                              E X H I B I T S

 2                                                                     2

 3            ATTORNEY APPEARING ON BEHALF OF THE                      3       DEPOSITION EXHIBITS:                          PAGE:

 4            PLAINTIFF:                                               4

 5                                                                     5       Previously marked as Exhibits 1 through 5.   Re-marked as

 6                         W. ADAM DUERK                               6       follows:

 7                         Knight Nicastro Mackay, LLC                 7

 8                         283 West Front Street, Suite 203            8       Exhibit 108   Declaration of Senator Max .... 7

 9                         Missoula, MT    59802                       9                     Baucus

10                         duerk@knightnicastro.com                   10       Exhibit 109   CARD's Statement of Disputed .. 15

11                                                                    11                     Facts

12            ATTORNEY APPEARING ON BEHALF OF THE                     12       Exhibit 110   Congressional Record - ........ 29

13            DEFENDANT:                                              13                     Senate Proceedings and

14                                                                    14                     Debates of the 111th

15                         TIMOTHY BECHTOLD                           15                     Congress, First Session,

16                         Bechtold Law Firm, PLLC                    16                     Saturday, December 19, 2009

17                         P.O. Box 7051                              17       Exhibit 111   CARD's Expert Witness ......... 30

18                         Missoula, MT    59807                      18                     Disclosure

19                         tim@bechtoldlaw.net                        19       Exhibit 112   Congressional Record - ........ 32

20                                                                    20                     Senate Proceedings and

21                                                                    21                     Debates of the 111th

22                                                                    22                     Congress, First Session -

23                                                                    23                     Monday, December 21, 2009

24                                                                    24

25                                                                    25




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 1        eligibility for benefits under this title an            1     Section 1881 of the Affordable Care Act that creates

 2        individual must be determined to be an environmental    2     an exception for a patient to be eligible for

 3        exposure affected individual."                          3     Medicare benefits without a diagnosis."

 4                  "Undisputed."                                 4                 "Undisputed."

 5                  Would you agree?                              5                 Would you agree?

 6             A.   Yep.    If that's in the -- if that's in      6            A.   Yep.

 7        the statute.                                            7            Q.   "Black's Law defines 'diagnosis' as:      'A

 8             Q.   All right.                                    8     medical term, meaning the discovery of the source of

 9             A.   Is it in there?                               9     a patient's illness or the determination of the

10             Q.   It is in there, and it is considered         10     nature of his disease from a study of its

11        undisputed.                                            11     symptoms.'"

12             A.   Okay, if it's in there.                      12                 "Undisputed."

13             Q.   All right.                                   13                 Do you agree?

14             A.   No reason to dispute it.                     14            A.   I've never -- I haven't looked at my

15             Q.   Okay.   3, "An environmental exposure        15     Black's Law dictionary in 40 years.      I have no idea.

16        affected individual means any individual who is        16            Q.   Fair enough.     Are there any facts that

17        diagnosed with one or more conditions."                17     you're aware of as you sit here today that would

18                  "Undisputed."                                18     lead you to dispute fact No. 7?

19                  Would you agree?                             19            A.   No.

20             A.   Yep.                                         20            Q.   Okay.   This next one references CARD's

21             Q.   Okay.   "Those conditions are:               21     website.    And, sir, I'll probably ask you some

22        Asbestosis, pleural thickening or pleural plaques as   22     predicate questions here.      But have you ever seen

23        established by interpretation by a 'B Reader'          23     CARD's website that you can recall?

24        qualified physician of a plain chest x-ray or          24            A.   No, no.

25        interpretation of a computed tomographic radiograph    25            Q.   Okay.   I'll phrase it this way:   "In


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 1        of the chest by a qualified physician, as determined    1     order to be eligible for Medicare benefits under the

 2        by the Secretary; or, two, such other diagnostic        2     Affordable Care Act, an individual must have a

 3        standards as the Secretary specifies, except that       3     diagnosis of an asbestos-related disease."

 4        this clause shall not apply to pleural thickening or    4                 Would you agree?

 5        pleural plaques unless there are symptoms or            5            MR. BECHTOLD:    Foundation.

 6        conditions requiring medical treatment as a result      6            THE WITNESS:    Would I agree?

 7        of these diagnoses.    Mesothelioma, or malignancies    7            Q.   (By Mr. Duerk)     Yes.

 8        of the lung, colon, rectum, larynx, stomach,            8            A.   I mean, it's -- "According to CARD's" --

 9        esophagus, pharynx, or ovary; any other diagnosis       9     I don't know.      I haven't seen it.

10        which the Secretary, in consultation with the          10            Q.   Okay.

11        Commissioner of Social Security, determines is an      11            A.   So how -- I can't respond.    I haven't

12        asbestos-related medical condition, as established     12     seen it.

13        by such diagnostic standards as the Secretary          13            Q.   And that's why I'm phrasing it just this

14        specifies."                                            14     way.    Regardless of whether or not CARD's website

15                  That fact is "Undisputed."                   15     says that an individual must have a diagnosis of an

16                  Would you agree?                             16     asbestos-related disease in order to be eligible for

17             A.   As far as I can tell.                        17     Medicare, would you agree that in order to be

18             Q.   "The language in the EHH provisions of       18     eligible for Medicare benefits under the Affordable

19        the Affordable Care Act uses the terms 'diagnosis,'    19     Care Act an individual must have a diagnosis of an

20        'established by,' and 'interpretation' when            20     asbestos-related disease?

21        describing environmental exposed individuals."         21            A.   To the best of my knowledge, yes.

22                  "Undisputed."                                22            Q.   Okay.   Now, again, the next question

23                  Would you agree?                             23     starts with the language, "According to CARD."        So

24             A.   To the best of my knowledge.                 24     I'm going to change this question just to see if

25             Q.   Okay.   "There is no provision stated in     25     you'd agree.




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                                                                                                                                   Exhibit 67-2
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 1                     Senator Baucus, would you agree that the       1          A.   -- come up with something.

 2        purpose of the Environmental Health Hazard                  2          Q.   Yep, you bet.

 3        provisions in the Affordable Care Act was to provide        3          A.   Just out of the blue, this is the first

 4        Medicare benefits for people who were exposed to            4     time anybody's referenced it in a long time.        So

 5        Libby asbestos; not to provide Medicare benefits to         5     this is the judiciary committee.      This is a huge,

 6        people who are not sick?                                    6     big document.

 7             A.      Yes.                                           7          Q.   It is.    And rather than having you -- or

 8             Q.      All right.    Sir, you're welcome to review    8     asking you to try to refresh your recollection over

 9        these if you would like.       However, I'll turn away      9     a very large document, I'll say at the outset that

10        from this document as a basic line of questioning.         10     this piece of legislation had what I'll label fairly

11        But based on your understanding of the Affordable          11     extensive history in Congress.      It appears that this

12        Care Act and your involvement in the Affordable Care       12     bill was discussed and went up for hearing multiple

13        Act, is it your understanding that CARD's purpose          13     times between September 25th, 2002 and June of 2005.

14        was to diagnosis individuals with asbestos-related         14     I'm seeing half a dozen committee meetings and

15        disease and where those patients were diagnosed to         15     hearings about this bill.    So I don't want to ambush

16        submit them for Medicare benefits if they were             16     you with what amounts to an Encyclopedia Britannica

17        eligible?                                                  17     full of information.

18             A.      Generally correct, yeah.                      18          A.   It's pretty extensive here.

19             Q.      Okay.   And consistent with what we've        19          Q.   It is very -- it is very extensive.        If I

20        been discussing here, it was not the purpose of the        20     describe it generally in a way that sounds accurate

21        Affordable Care Act, based on your understanding, to       21     to you, maybe that might help speed things along.

22        allow people who were not sick to claim Medicare           22          A.   This is in the judiciary committee.

23        eligibility --                                             23          Q.   Okay.

24             A.      Correct.                                      24          A.   I can just tell by looking at it that's

25             Q.      -- for life, correct?                         25     what it says.


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 1             A.      Correct.                                       1          Q.   Yep, yep.    In terms of the general goal

 2             Q.      Thank you.                                     2     of The Fairness in Asbestos Injury Resolution Act or

 3                     I'd like to talk about your involvement,       3     the Fair Act, Senator, is it fair to say that in the

 4        Senator Baucus, in two pieces of legislation; not           4     Senate, you and your colleagues were trying to

 5        only the Affordable Care Act and the EHH provisions         5     address a system or a method of addressing the

 6        in the act, but also the Fair Act or the Fairness In        6     asbestos litigation difficulties in the United

 7        Asbestos Injury Resolution Act of 2005.                     7     States by coming up with some sort of fund to ensure

 8                     I recognize that you've signed the             8     that people who were sickened by asbestos had a

 9        declaration about provisions, the EHH provisions in         9     remedy that would help them with their personal and

10        the Affordable Care Act.                                   10     medical difficulties caused by asbestos exposure?

11                     In terms of The Fairness in Asbestos          11          A.   I --

12        Injury Resolution Act, do you recall having                12          MR. BECHTOLD:    Foundation.

13        involvement in that particular piece of legislation?       13          THE WITNESS:     What do you mean "foundation"?

14             A.      I don't at this moment, but, my gosh,         14          Q.   (By Mr. Duerk)     I think, not to speak for

15        that was what?       This is, what, 2022?   It was 18      15     Mr. Bechtold, but he is preserving the record with

16        years ago.     I'd have to talk to my staff.               16     some objections.    By "foundation," I think he is

17             Q.      And I'm happy to --                           17     suggesting that maybe you don't know what I'm

18             A.      I have no -- it sounds like something I'd     18     talking about?

19        do, but I would have to stop and talk to my staff.         19          A.   Because you're right.

20             Q.      Okay.   Just as you sit here today, what      20          Q.   And that's what I'm trying to get at.

21        can you recall about The Fairness in Asbestos Injury       21          A.   Basically, that's right.      I mean, I

22        Resolution Act?                                            22     was -- I was part of anything to help people in

23             A.      Well, if you give the provisions to me, I     23     Libby.

24        can look at it and be able to --                           24          Q.   Yes.

25             Q.      Sure.                                         25          A.   I was not on this committee.




                                                                                                                                Pages 21 - 24

                                                                                                                                     Exhibit 67-3
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 1             A.     That's my understanding.                       1          A.     Yes.

 2             Q.     All right.    Is there any question in your    2          Q.     Is it also true that Christine Todd

 3        mind that Mr. Skramstad suffered from an                   3     Whitman, Kathleen Sebelius, the others that you

 4        asbestos-related disease?                                  4     mentioned, to the best of your understanding, like

 5             A.     No.                                            5     you, were not trying to just give everyone in Libby

 6             Q.     Your intent in terms of putting these EHH      6     a free pass.       You were not drafting legislation that

 7        provisions into the Affordable Care Act was to             7     would just make everybody in Libby, Montana,

 8        protect individuals like Mr. Skramstad who had been        8     Medicare eligible?

 9        exposed to Libby amphibole and doctors determined to       9          A.     Correct.

10        have an asbestos-related disease, correct?                10          Q.     So if somebody lived in Libby but they

11             A.     That's correct.                               11     weren't sick, it wasn't your intent to draft a law

12             Q.     Okay.   And one of the provisions drafted     12     that would give them a Medicare free card for life

13        into the Affordable Care Act is to enshrine those         13     even though they didn't have asbestos-related

14        protections for people like Les Skramstad by making       14     disease?

15        it clear that if someone has a diagnosis of an            15          A.     Correct.

16        asbestos-related disease, that they're sick from          16          Q.     Okay.    Earlier, when I was talking about

17        exposure to Libby asbestos, they are Medicare             17     the Fair Act and some of its similarities to the EHH

18        eligible?                                                 18     provisions in the Affordable Care Act, I was

19             A.     Whoever they are.    Anybody that fits that   19     talking -- I was asking you some questions about

20        description --                                            20     antifraud provisions.

21             Q.     All right.                                    21                 Sir, it was never your intent to make it

22             A.     -- including Les and anybody else.            22     easier for anyone to defraud the Medicare program

23                    Les died, as you know, because of this,       23     based on provisions that you had a hand in passing?

24        and his wife died and his kids died.      And it's        24          A.     Correct.

25        just -- so it's not just Les.     It's other people in    25          Q.     Okay.


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 1        the community.                                             1          A.     Don't want fraud.

 2             Q.     Understood.   I know that this is --           2          Q.     Yep.

 3             A.     And even across the country it had --          3          A.     Fraud's not a good thing.

 4        exposed to asbestos.                                       4          Q.     I think we can all agree --

 5             Q.     I understand that this bill was not only       5          A.     We don't like fraud.

 6        for Mr. Skramstad.                                         6          Q.     -- fraud's not a good thing.

 7             A.     Correct.                                       7          A.     Okay.

 8             Q.     I understand that this bill --                 8          Q.     Okay.    In terms of this case, you have

 9             A.     It's for the people of Libby primarily.        9     not seen any documents outlining the allegations of

10             Q.     Yep, who were exposed to Libby --             10     fraud against the CARD clinic?

11             A.     And I represented the state of Montana,       11          A.     No, I have not.

12        and I can do all I can for the people in the state        12          Q.     Okay.    Regardless of who is behind a

13        of Montana, including people who have suffered so         13     scheme to defraud the federal government, you would

14        much and have no other remedy, frankly, but for me.       14     be concerned about the potential of that fraudulent

15             Q.     Understood.                                   15     activity, fair?

16             A.     If it were not for me, those people would     16          A.     Well, I don't -- I'd be concerned about

17        still be suffering.                                       17     fraud.    It would have to be proven.

18             Q.     Understood.                                   18          Q.     Right.    And in terms of any of the

19                    In terms of Christine Todd Whitman,           19     evidence in this case related to fraudulent

20        Kathleen Sebelius, and the others that you mentioned      20     activity, you have not reviewed that evidence?

21        earlier in your testimony, is it your understanding       21          A.     I am unaware of any fraud.    I don't think

22        that they, like you, wanted to make sure that they        22     I'd find any either with respect to the CARD clinic.

23        were providing protection from people who are             23     I don't think I'd find any either knowing what I do

24        suffering from asbestos-related disease due to            24     about that clinic and Dr. Black and the people

25        exposure to Libby amphibole?                              25     involved.




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                                                                                                                                    Exhibit 67-4
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 1             A.   Sure.                                         1          A.      Without a diagnosis, that's correct.

 2             Q.   In -- in terms of Medicare eligibility, I     2          Q.      Okay.   Doctor, in terms of your

 3        want to go through a hypothetical with you and get      3     background training and experience, and I think

 4        your thoughts, okay?                                    4     these questions are all going to be real basic, but

 5                  The hypothetical is this:    Let's say an     5     you don't hold yourself out as a physician, correct?

 6        individual who lives in Libby, Montana, goes to a       6          A.      No, I don't.

 7        doctor and gets screened for asbestos-related           7          Q.      Didn't go to medical school?

 8        disease and that patient has an abnormality because     8          A.      I did not.

 9        of a rib fracture that would appear on a chest          9          Q.      All right.    Don't claim to know or

10        x-ray.                                                 10     understand the intricacies of what's required for a

11                  As part of the screening program, that       11     diagnosis of asbestos-related disease under the

12        patient's chest x-ray and CT scan is sent out to a     12     American Thoracic Society standard?

13        panel of experts, and they identify that there's a     13          A.      That's correct.    It's not my deal.

14        rib fracture there.                                    14          Q.      All right.    So if CARD physicians have

15                  Those x-rays and CT's come back to the       15     admitted under oath that B Readers, just

16        diagnosing physician who reviews the CT scan and the   16     radiologists who only look at a film, do not

17        chest x-ray, and they sit down with the patient        17     diagnose, you wouldn't have a reason to disagree

18        after conducting an exposure history and a physical    18     with that?

19        exam, and they look at the CT scan and they say,       19          A.      Again, if there's no diagnosis, that

20        "You have a fractured rib, but you do not have a       20     person should not get -- should not be covered.

21        diagnosis of asbestos-related disease."                21          Q.      Okay.   And on the very narrow and

22                  Does that all make sense so far in terms     22     specific question, I think I might anchor this to

23        of the hypothetical?   We've got a patient with no     23     undisputed facts if we need to, but would you

24        diagnosis of asbestos-related disease.                 24     dispute that radiologists, those doctors who just

25                  In your mind, would it be proper for that    25     look at films, are not responsible for diagnosing a


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 1        patient to be submitted for Medicare eligibility        1     patient?

 2        under the EHH provisions of the Affordable Care Act?    2          MR. BECHTOLD:      Foundation.

 3             A.   I'd want a second opinion.                    3          THE WITNESS:      I was going to say I have no -- I

 4             Q.   All right.                                    4     cannot -- I cannot answer that question.

 5             A.   I think, my gosh, I've gone to a lot of       5          Q.      (By Mr. Duerk)    Fair enough.

 6        the doctors in my life, and sometimes it's better to    6          A.      I have no basis to answer that question.

 7        go see another one.                                     7          Q.      Okay.   And if we could look at Exhibit 2

 8             Q.   All right.   Well, within the context of      8     in front of you.     I'm looking at page 13 of 41.

 9        this hypothetical, let's say that the doctor with       9          A.      Okay.

10        the most information, the diagnosing physician, the    10          Q.      Sir, if I told you that CARD does not

11        doctor who has the CT scan and the chest x-ray, the    11     dispute the fact that B Readers do not diagnose,

12        doctor who's completed an inpatient assessment, the    12     would you have any reason to disagree with that?

13        doctor who's reviewed the exposure history of the      13          A.      I -- I'm --

14        patient, the diagnosing physician in this instance     14          MR. BECHTOLD:      Foundation.

15        says, "You're not sick.   You don't have               15          THE WITNESS:      I'm not qualified to answer that

16        asbestos-related disease."                             16     question.

17                  Based on your understanding of the           17          Q.      (By Mr. Duerk)    All right.   Back to the

18        Affordable Care Act, would it be proper for that       18     hypothetical of the patient with the rib fracture,

19        patient to be submitted for Medicare benefits?         19     if a doctor had submitted Medicare claims for over

20             A.   If the patient does not have disease, the    20     100 patients knowing that those patients did not

21        answer is no.                                          21     have a diagnosis of asbestos-related disease, would

22             Q.   Right.   And so consistent with the          22     you find that problematic?

23        original purpose of the EHH provisions in the          23          A.      Yes.

24        Affordable Care Act, without a diagnosis, that         24          Q.      Why?

25        patient shouldn't be deemed Medicare eligible?         25          A.      Because it would be fraud.




                                                                                                                            Pages 57 - 60

                                                                                                                                  Exhibit 67-5
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 1             Q.     In your mind, why would that scenario            1     problematic if, in addition to all those negative

 2        suggest fraud to you?                                        2     outside readings, that patient went to a local

 3             A.     It's inaccurate.     Benefits based on false     3     pulmonologist who, similar to the hypothetical

 4        evidence.                                                    4     doctor, had been treating patients for Libby

 5             Q.     Right.     Continuing on with this               5     amphibole disease for years and said to the patient,

 6        hypothetical, if the doctor in that hypothetical             6     "You are not sick.      You do not have asbestos-related

 7        where the patient had the a rib fracture signed a            7     disease," and that patient returned to the

 8        Medicare claim form stating that that patient had            8     hypothetical doctor, and the hypothetical doctor

 9        asbestosis and the date of diagnosis for that                9     told the patient, "Ignore that pulmonologist's

10        asbestosis in support of the claim for Medicare             10     second opinion," would you find that problematic?

11        eligibility, would you find that fact problematic?          11            A.   No.

12             A.     Yeah.    I don't quite understand the           12            Q.   Why not?

13        question.   Did the doctor find that there is               13            A.   A lot of doctors are quacks, and I

14        asbestos-related disease or not?                            14     just -- I just don't know what -- who that

15             Q.     No.     In this hypothetical, the doctor        15     pulmonologist is.       I have no idea who he is, so I --

16        determined there was no diagnosis of                        16     based on what you said, I -- I do not have that

17        asbestos-related --                                         17     information.

18             A.     What did the doctor do?                         18            Q.   But your statement is a lot of doctors

19             Q.     The doctor in this hypothetical submitted       19     are quacks.

20        a Medicare claim form that stated the patient had           20            A.   Some are.    That's an overstatement.   Some

21        asbestosis.    Would you find that problematic?             21     are.

22             A.     Yes, I would.                                   22            Q.   All right.    Senator Baucus, in your

23             Q.     Would you -- in your words, would you           23     opinion are doctors from the Mayo Clinic in

24        describe that as fraud?                                     24     Rochester, Minnesota, doctors that fall into that

25             A.     I'd have to look at the statute.     It --      25     quack category?


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 1        it certainly is wrong.       I'd have to look at the         1            A.   No.

 2        statute legally.       All I know is it's -- it raises --    2            Q.   Generally no, fair?

 3        as I said problematic.       It raises questions and         3            A.   Fair.

 4        seems wrong, and I'd have to dig into it a lot more          4            Q.   Okay.    Same hypothetical:   Let's assume

 5        to find out what's going on here.                            5     that patient, frustrated with the different opinions

 6             Q.     Understood.                                      6     he's hearing about his disease --

 7                    Let's go into a separate hypothetical.           7            A.   Right.

 8        Assume there's the same doctor who sees a patient            8            Q.   -- takes a trip to Rochester.

 9        and that patient had some experience in Libby,               9            A.   Right.

10        Montana, so that they were in Libby for the                 10            Q.   And he remains there for several days,

11        requisite period of time, and the doctor sent that          11     and he has his films over-read by radiologists, and

12        patient's x-rays and CT scans out for a read from           12     he has an in-person physical examination, and he

13        either a B Reader or a thoracic radiologist, a              13     goes through a battery of tests.

14        pulmonologist, someone with experience reading              14            A.   Right.

15        films, and all of those films, all of those chest           15            Q.   Let's assume that that patient is told by

16        x-rays came back as negative for asbestos-related           16     the doctors at Mayo, "You have no signs of

17        disease, not just once but multiple times year after        17     asbestos-related disease.      In fact, we over-read all

18        year, assuming there was no outside evidence                18     of your scans going back for years, and none of them

19        according to radiologists and outside experts               19     show any signs consistent with asbestos-related

20        showing any signs consistent with asbestos-related          20     disease."    Would it concern you if the hypothetical

21        disease, would you find it problematic if that              21     doctor still maintained and told that patient, "You

22        doctor submitted that patient for Medicare benefits?        22     have asbestos-related disease despite what all of

23             A.     Yeah.    If there's no basis for finding        23     these other doctors are saying"?

24        disease, yeah.                                              24            A.   I'd be concerned.

25             Q.     Same hypothetical:     Would you find it        25            Q.   I would like to expand the hypothetical




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                                                                                                                                      Exhibit 67-6
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 1             Q.   But in terms of what's passed into law,        1          A.      Generally that's correct.

 2        the law is what's determinative of how this              2          Q.      Okay.   And again, is there any exception

 3        legislation is enforced?                                 3     that you can think of here?

 4             A.   Senators vote for all kinds of reasons.        4          A.      No.

 5        It's hard to tell.                                       5          Q.      All right.    So --

 6             Q.   All right.    When we enforce the criminal     6          A.      But things are generally not black and

 7        code, for example, or when we enforce the Affordable     7     white.    I mean, someone may say, "That person is not

 8        Care Act and determine how the Affordable Care Act       8     qualified.     That person" -- some other doctor may

 9        should govern all of us, the first place we look is      9     say, "Yes, he is qualified."

10        the law itself?                                         10          Q.      Sure.

11             A.   Right.                                        11          A.      So I mean, it's -- there are shades of

12             Q.   Not necessarily legislative history?          12     gray here.

13             A.   Correct.                                      13          Q.      Understood.     But in terms of --

14             Q.   Okay.    And when we look to legislative      14          A.      The principle, we're talking about the

15        history, is it fair to say we look at the printed       15     principle.

16        record of your deliberations?                           16          Q.      And in terms of the language of the law.

17             A.   Yeah.                                         17          A.      The language of the law, that's correct.

18             Q.   Okay.    In terms of your declaration in      18          Q.      If a patient doesn't have a diagnosis --

19        Exhibit 1, I think we've probably covered this at       19          A.      Correct.

20        length, but in terms of the opinions that you intend    20          Q.      -- of asbestos-related disease from Libby

21        to share at trial in this matter, is it your opinion    21     amphibole, they should not be Medicare eligible?

22        that in order to be Medicare eligible a patient must    22          A.      Correct.

23        have a diagnosis of asbestos-related disease?           23          MR. DUERK:      Sir, I would like to take a few minutes

24             A.   It helps.                                     24     to review my notes once more to make sure I'm not missing

25             Q.   It helps?                                     25     anything, and then I anticipate we may be through with my


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 1             A.   It helps.                                      1     part.     Thank you.

 2             Q.   All right.    Is a diagnosis required under    2          VIDEO OPERATOR:       We are going off the record.      The

 3        the Affordable Care Act?                                 3     time is 11:52 a.m.

 4             A.   Under the law, yes.                            4

 5             Q.   Okay.                                          5                         (Whereupon, a recess was taken)

 6             A.   But CMS may reject a claim.    I mean, CMS     6

 7        may reject, and there are all kinds of steps here.       7          VIDEO OPERATOR:       We are back on the record.     The time

 8             Q.   All right.    And then --                      8     is 12:04 p.m.

 9             A.   But for the purposes of this discussion,       9          Q.      (By Mr. Duerk)      Senator Baucus, during

10        though, it's my intention that -- and I think it's      10     your deposition today, it's appeared to me that

11        the intention of the statute -- that if you got a       11     you've understood my questions.         When you've needed

12        diagnosis, you're covered; if there's no diagnosis,     12     clarification, you've asked for that clarification.

13        you're not covered.                                     13     Has that been your impression also?

14             Q.   Right.                                        14          A.      Yes.

15             A.   It's very simple.                             15          Q.      Sir, I thank you for your time.

16             Q.   And in terms of the law itself, as we've      16                  Do you anticipate serving as a witness at

17        covered earlier, there's no provision stated in the     17     trial in this matter?

18        Affordable Care Act, the EHH provisions, that           18          A.      Yes.

19        creates an exception for a patient to be eligible       19          MR. DUERK:      Okay.      I have nothing further.   Thank

20        for Medicare benefits without a diagnosis.              20     you, sir.

21             A.   There must be a diagnosis.                    21          MR. BECHTOLD:       And I'll reserve --

22             Q.   And if a patient does not have a              22          THE WITNESS:       Sorry?

23        diagnosis of asbestos-related disease, if a patient     23          MR. BECHTOLD:       I'll reserve any questions for trial.

24        is not sick from Libby amphibole, they should not be    24          THE WITNESS:       Okay.

25        submitted for Medicare benefits?                        25          VIDEO OPERATOR:       That concludes the deposition.         The




                                                                                                                              Pages 73 - 76

                                                                                                                                    Exhibit 67-7
